            Case 2:21-cv-00920-JLR Document 21 Filed 04/05/23 Page 1 of 1



 1                                                THE HONORABLE JAMES L. ROBART

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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE

 9
      AUBRY MCMAHON,
10
                                                    CASE NO. 2:21-CV-00920-JLR
11                  Plaintiff,                                                          JLt
                                                    [ ~ ] ORDER ALLOWING
12          vs.                                     OVER-LENGTH BRIEFS ON
13                                                  SUMMARY JUDGMENT
      WORLD VISION, INC.
14
                   Defendant.
15
16
           The Court, having considered the Defendant's Motion for Over-Length Briefs
17
18   pursuant to LCR 7(£), and for good cause shown, hereby grants leave to both parties

19   to file briefs on summary judgment under the following space limitations:
20
                  Brief                      Word Limit
21
                  Opening Brief              10,500 words
22                Opposition Brief           10,500 words
23                Reply Brief                5,250wor: ~
24

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26
                                                       ~~ Q__ ru
                                                            James/L. Robart
                                                            United!. States District Judge
27

      ORDER ON OVER-LENGTH BRIEFS             Pagel               \
      CASE No. 2:21-CV-00920-JLR
